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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  CAS VILLE INVESTMENTS, LTD,
  et al.,

          Plaintiffs,

  vs.                                                  Case No. 13-cv-61596-WPD

  JASON M. KATES, et al.,

          Defendants.
  _______________________________/
                FINAL ORDER APPROVING CLASS ACTION SETTLEMENT;
                                 CLOSING CASE


        THIS CAUSE is before the Court on the Agreed Motion for Settlement [DE 90] filed by the

  parties on January 15, 2014 (the "Motion") and pursuant to the Order Preliminarily Approving

  Motion for Settlement and Setting Settlement Hearing [DE 94] entered on January 16, 2014 (the

  "Order").

        Casville Investments, Ltd., MBC Investment SA, and Watkins International, Ltd.,

  individually and derivatively on behalf of Nominal Defendant Argo Digital Solutions, Inc.

  ("Argo"), collectively "Plaintiffs," and Jason M. Kates ("Kates"), Richard J. Sullivan

  ("Sullivan"), David A. Loppert ("Loppert"), World Capital Markets, Inc. ("World"), Solutions,

  Inc. ("Solutions"), rVue Holdings, Inc. ("rVue"), John Does 1-20, and Argo as Nominal

  Defendant, collectively "Defendants," have entered into an agreement and stipulation (the

  "Settlement Agreement") which sets forth the terms and conditions for the proposed settlement

  (the "Settlement") of the above-captioned shareholder-derivative litigation, subject to review and

  approval by this Court pursuant to Rule 23.1 of the Federal Rules of Civil Procedure.

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       Plaintiffs filed a complaint in the United States District Court for the Southern District of

  New York on September 12, 2012.


       Defendants Loppert, Sullivan, World and Solutions moved to dismiss the complaint on

  personal jurisdiction grounds and/or to transfer the case for lack of venue on November 19,

  2012. On January 17, 2013, defendant Kates joined in that motion. On December 21, 2012

  defendant rVue moved to dismiss the complaint against it: (1) for lack of personal jurisdiction

  and/or to transfer of the case for lack of venue; and, (2) for failure to state a claim pursuant to

  Rule 12 (b)(6) ofthe Federal Rules of Civil Procedure and for failure to plead with specificity

  pursuant to Rule 9(b) ofthe Federal Rules of Civil Procedure.


       The United States District Court for the Southern District of New York denied the

  Defendants' respective motions to dismiss the complaint, but granted their motions to transfer

  the case to this Court on July 8, 2013.


       Plaintiffs and Defendants began settlement discussions shortly thereafter, and entered into

  the Settlement Agreement in November 2013.


       Plaintiffs and Defendants filed the Motion, in response to which the Court entered the

  Order. The Order required the Plaintiffs to provide written notice of the Settlement Agreement to

  the shareholders of Argo in the form ofthe Notice of Pendency and Proposed Notice of

  Settlement of Shareholder Derivative Litigation (the "Notice") attached to the Motion. The Court

  finds that the Plaintiffs provided such written notice in accordance with the Order by mailing a

  copy of the Notice to all Argo shareholders by United States First Class Mail on January 23,

  2014 and filing a copy ofthe Notice with the Court by ECF on January 24, 2014.




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       No Argo shareholders have filed an objection to the proposed Settlement by the March 21,

  2014 deadline set by this Court.

       The Court having held a Settlement Hearing on April 4, 2014, and having read and

  considered the Settlement Agreement and the exhibits thereto, including the Notice, and finding

  that substantial and sufficient grounds existed to enter the Order, it is hereby ORDERED AND

  ADJUDGED as follows:

      1. This Court approves the settlement of the parties on the terms set forth in the Settlement

         Agreement as compliant with the requirements of Rule 23.1 ofthe Federal Rules of Civil

         Procedure, and determines that the Settlement is fair, adequate and reasonable and not the

         product of collusion between the parties. Pursuant to the factors enumerated in Bennett

         v. Behring Corp., 737 F.2d 982, 986 (11th Cir. 1984), the Court finds:

             a. The likelihood ofsuccess at trial. Given the complexity of the claims asserted in

                 this action, both Plaintiffs and Defendants believe that they each face significant

                 risk at trial, their respective likelihood of success was difficult to assess, and that

                 settlement is in the best interest of all parties involved.

             b. The range ofpossible recovery. Plaintiffs initially demanded $5 million in

                 damages. The defendants denied any wrongdoing and it is their position that the

                 Plaintiffs were not entitled any monetary damages.

             c. The point on or below the range ofpossible recovery at which a settlement is fair,

                 adequate and reasonable. Plaintiffs sought at least $800,000 which represented a

                 return of their direct investment into Argo. While Plaintiffs maintain that their

                 claims have merit, they agreed to compromise their claims after engaging in




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                 document discovery and conducting further analysis of the claims and the risks

                 associated with proceeding to trial.

            d. The complexity, expense and duration of litigation. This is a complex case that

                 has been pending since September 2012, first in the United States District Court

                 for the Southern District of New York, and later transferred to this Court. There

                 remained significant discovery to complete, including all fact witness depositions,

                 and possible motion practice by the parties. If the case continued, the parties also

                 would be required to travel internationally, which would increases their expenses

                 significantly. At minimum, it would have taken at least an additional six months

                 and hundreds of attorney hours to complete pretrial matters and conduct a trial.

            e. The substance and amount of opposition to the settlement. No Argo shareholder

                 has opposed the proposed settlement.

            f.   The stage ofproceedings at which the settlement was achieved. Settlement was

                 reached during the discovery process during which time the parties were able to

                 make an informed decision that settlement was in the best interest of the parties

                 and Argo since the expense of the remaining discovery, motion practice, pre-trial

                 procedures and the trial itself would likely significantly outweigh the possible

                 recovery at trial.

     2. Upon the date ofthis Order, Plaintiffs and Defendants shall take the acts required by

        them respectively pursuant to the Settlement Agreement.

     3. The Court retains exclusive jurisdiction over this matter to enforce the terms of the

        Settlement Agreement.




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   4.    The Clerk is directed to CLOSE this case and DENY AS MOOT any pending motions.

         DONE AND ORDERED in Chambers at Ft. Lauderdale, Broward County, Florida, this

  9-th day of April, 2014.




                                          United States District Judge




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